
753 So.2d 226 (2000)
CITY OF EUNICE
v.
Rebecca CREDEUR.
No. 99-C-3249.
Supreme Court of Louisiana.
January 28, 2000.
Writ granted in part. The Court of Appeal, Third Circuit, erred in awarding a penalty under La.R.S. 23:1201(F) as the City of Eunice did not fail to provide payment of a claim but arbitrarily, capriciously, or without probable cause discontinued payment of a claim. Therefore, La.R.S. 23:1201(F) is inapplicable. Instead, La. R.S. 23:1201.2 governs this case and does not allow for the awarding of a penalty. See La.R.S. 23:1201(F); La.R.S. 23:1201.2; Williams v. Rush, 98-2271 (La.6/29/99), 737 So.2d 41, 43-45. Accordingly, we vacate and set aside that portion of the appellate court's opinion. In all other respects this writ application is denied.
VICTORY, J., not on panel.
